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Southem HlEEtr|gt ofTexas
UNITED STATES DISTRICT COURT MAY 2 3 2017
SOUTHERN DISTRICT OF TEXAS
McALLEN DIVISION pav|dJ_ Brad|ey. Clerk
UNITED STATES OF AMERICA §
§
v. § Criminal No. _
§ M l 7 ° 7 7 l
GERARDO JAVIER LONGORIA §
ROLANDO GUERRERO §
MTMM

THE GRAND JURY CHARGES:
MQI.!£
From on or about October 20, 2016, to on or about May 23, 2017, in the Southern District
of Texas and within the jurisdiction of the Court, defendants,
GERARDO JAVIER LONGORIA
and
ROLANDO GUERRERO
did knowingly and intentionally conspire and agree together and with other persons known and
unknown to the Grand Jurors, to possess with intent to distribute a controlled substance. The
controlled substance involved was 500 grams or more of a mixture or substance containing a
detectable amount of cocaine, a Schedule ll controlled substance.
In violation of Title 21, United States Code, Sections 846, 84l(a)(l), and 84l(b)(l)(B).
Count Two
On or about October 20, 2016, in the Southern District of Texas and within the jurisdiction
of the Court, defendants,
GERARDO JAVIER LONGORIA
and

ROLANDO GUERRERO

did knowingly and intentionally possess with intent to distribute a controlled substance. The

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controlled substance involved was 500 grams or more, that is, approximately l.l7 kilograms of a
mixture or substance containing a detectable amount of cocaine, a Schedule II controlled
substance.

ln violation of Title 21, United States Code, Sections 84l(a)(l) and 84l(b)(l)(B) and Title
18, United States Code, Section 2.

A TRUE BILL

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ABE MARTINEZ
ACTING UNITED STATES ATTORNEY

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ASSI A T UNITED STATES ATTORNEY

